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 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 LAURA VARTAIN HORN (CABN 258485)
   EDWARD CHANG (CABN 265181)
 5 Assistant United States Attorneys

 6          450 Golden Gate Avenue, Box 36055
            San Francisco, California 94102-3495
 7          Telephone: (415) 436-6831
            FAX: (415) 436-7234
 8          Laura.Vartain@usdoj.gov

 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
                                                      )   CASE NO. CR 22-426 CRB
14                                                    )
     UNITED STATES OF AMERICA,                        )
15                                                        [PROPOSED] ORDER GRANTING PETITION
            Plaintiff,                                )   FOR WRIT OF HABEAS CORPUS AD
16                                                    )   PROSEQUENDUM
                    v.                                )
17                                                    )
     DAVID DEPAPE,                                    )
18                                                    )
            Defendant.
19

20          Upon motion of the United States of America, and good cause appearing therefore,

21 IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas

22 Corpus Ad Prosequendum requiring the production of defendant DAVID DEPAPE, before this Court on

23 the date stated in the Writ submitted, or as soon thereafter as practicable, is granted and the Writ shall be

24 issued as presented.

25
            11/10/2022
26 DATED: ___________________                                     __________________________________
                                                                  Honorable Alex G. Tse
27                                                                United States Magistrate Judge

28

     [PROPOSED] ORDER
     CASE NO. CR 22-426 CRB
